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                     EXH. 3
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                                           CAUSE NO. 3:17-cv-00072-NKM


    ELIZABETH SINES,SETH WISPELWEY,                                  UNITED STATES DISTRICT COURT FOR THE
    MARISSA BLAIR, TYLER MAGILL,APRIL                                           WESTERN DISTRICT OF VIRGINIA
    MUNIZ,HANNAH PEARCE, MARCUS MARTIN,                                                     State of Virginia, County of
    JOHN DOE,JANE DOE 1, JANE DOE 2, and JANE
     DOES


     vs



    JASON KESSLER,RICHARD SPENCER,
    CHRISTOPHER CANTWELL,AJMES ALEX
    FIELDS, JR., VANGUARD AMERICA,ANDREW
    ANGLIN, MOONBASE HOLDINGS,LLC,
    ROBERT "AZZMADOR" RAY,ANTHAN
    DAMIGO,ELLIOT KLINE A/K/A ELI MOSELY,
    IDENTITY EVROPA,MATTHEW HEIMBACH,
    MATTHEW PARROTT,TRADITIONALIST
    WORKER PARTY, MICHAEL HILL, MICHAEL
    TUBBS,LEAGUE OF THE SOUTH,JEFF
    SCHOEP, NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT,AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE ALT-
    KNIGHTS, MICHAEL "ENOCH" PEINOVICH,
    LOYAL WHITE KNIGHTSO FHT EKU KLUX
    KLAN A/K/A EAST COAST KNIGHTS OF THE
    TRUE INVISIBLE EMPIRE


                                       AFFIDAVIT OF ATTEMPTED SERVICE


     Came to hand on 12/5/2017 1:16 pm,the SUMMONS IN A CIVIL ACTION; COMPLAINT; PLAINTIFF'S
     JURY DEMAND to be executed on AUGUSTUS SOL INVICTUS,32824 Steeplechase Drive, Apt. 8108,
     Sherman,TX 75092.

     BEFORE ME,the undersigned authority, on this day personally appeared Ty Blankenship who after being
     duly sworn on oath states: "My name is ly Blankenship. I am a person over eighteen(18) years ofage and I
     am competent to make this affidavit. I have personal knowledge ofthe facts and statements contained in this
     Affidavit and aver that each is true and correct. I am a private process server authorized by the Texas Judicial
     Branch Certification Commission to serve process. I am familiar with the Rules of Civil Procedure and the
     Practice and Remedies Code as they apply to the service of civil process. I am not a party to this suit and have
     no interest in the outcome ofthe suit. I have never been convicted of a felony or of a misdemeanor involving
     moral turpitude.

     I have attempted to make personal service upon AUGUSTUS SOL INVICTUS,Defendant in the above-styled
     cause of action at the dwelling located at 32824 Steeplechase Drive, Apt. 8108, Sherman, TX 75092, believed to
     be AUGUSTUS SOL INVICTUS's usual place of abode or other place AUGUSTUS SOL INVICTUS can
     probably be found, on the following dates and times

     12/05/2017 04:00 PM 32824 Steeplechase Drive, Sherman, TX 75092 I knocked at apartment 8108, but there
     was no answer at the door. I went the second floor ofthe building and knocked at apartment 8208, as I was told
     that Augustus Sol Invictus may reside at this apartment rather than 8108. A mother and her child answered the
     door of apartment 8208 and told me she did not know anybody named Augustus Invictus and didn't know who
     lived in the apartment below her. I knocked again at apartment 8108, but there was still no answer. There were
     no noises coming from inside the apartment.

   AFFIDAVIT OF SERVICE                                                                                PAGE 1 OF 2
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    12/05/2017 07:10 PM 32824 Steeplechase Drive, Sherman, TX 75092 There were no noises heard to be coming
    from inside the apartment, and there was no answer at the apartment door.
    12/06/2017 11:57 AM 32824 Steeplechase Drive, Sherman, TX 75092 There were no noises heard to be coming
    from inside the apartment, and there was no answer at the apartment door.
    12/07/2017 08:40 AM 32824 Steeplechase Drive, Sherman, TX 75092 There were no noises heard to be coming
    from inside the apartment, and there was no answer at the apartment door.
    12/12/2017 08:40 AM 32824 Steeplechase Drive, Sherman, TX 75092 There were no noises heard to be coming
    from inside the apartment, and there was no answer at the apartment door. There was a folded piece of paper
    stuck in the crack ofthe door of apartment 8108 that was left there by someone other than myself. I left a note
    taped to the door providing a number to contact to arrange the delivery of documents to Augustus Sol Invictus.
    12/13/2017 08:05 AM 32824 Steeplechase Drive, Sherman, TX 75092 There were no noises heard to be coming
    from inside the apartment, and there was no answer at the apartment door. The piece of paper left in the door on
    the previous attempt had been removed. The note that 1 had left taped to the apartment door had been removed.
    Our office has not received any calls from Augustus Sol Invictus concerning the delivery of documents.




                                                                                 es 09/30/2020




            BEFORE ME,a notary public, on this day personally appeared Ty Blankenship, known to me to be the
    person whose name is subscribed to the foregoing document and, being by me first duly sworn, declared that the
    statements therein contained are within his personal knowledge and are true and correct. ^^ ^
             Given under my hand and seal of office this _



                     JOHN W. BLANKENSHIP
                                                     Notary                     e State of Texas
                  ^Notary Public, State of Texas
                    Comm. Expires 12-21-2020
                       Notary ID 10439750




   AFFIDAVIT OF SERVICE                                                                             PAGE 2 OF 2
